
The People of the State of New 
	York, Respondent,&nbsp; 
againstJesse Shavel, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Julio Rodriguez, III, J. at plea; Laurence E. Busching, J. at sentencing), rendered June 3, 2016, convicting him of criminal obstruction of breathing or blood circulation, and sentencing him to three years of probation.




Per Curiam.
Judgment of conviction (Julio Rodriguez, III, J. at plea; Laurence E. Busching, J. at sentencing) rendered June 3, 2016, affirmed.
We are unpersuaded that the probationary sentence imposed was unduly harsh or severe, and find no extraordinary circumstances warranting a reduction of the sentence in the interest of justice (see People v Fair, 33 AD3d 558, 558 [2006], lv denied 8 NY3d 945 [2007]). Further, defendant was sentenced in accordance with his bargained-for plea and should not now "be heard to complain that he received what he bargained for" (id. at 558, quoting People v Chambers, 123 AD2d 270, 270 [1986]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: October 23, 2017










